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                BEFORE THE UNITED STATES JUDICIAL PANEL
                     ON MULTI-DISTRICT LITIGATION

IN RE: Roundup Products Liability
Litigation                                                         MDL No. 2741

                            MOTION TO TRANSFER
                            SCHEDULE OF ACTIONS

         Plaintiff       Defendant     District     Civil Action No.     Judge

1. Scott Gilmore,        Monsanto    D. Delaware   1:20-cv-01085-MN    Judge
   Julio Ezcurra,        Company                                       Maryellen
   Sherry Hanna,                                                       Noreika
   Kristy Williams,
   Amanda Boyette,
   James Weeks,
   Anthony Jewell, and
   Paul Taylor




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